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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF VERMONT

  GARRET SITTS, et al.,

            Plaintiffs,

  v.
                                                            Civil Action No. 2:16-cv-00287-cr

   DAIRY FARMERS OF AMERICA, INC. and
   DAIRY MARKETING SERVICES, LLC,

            Defendants.


                          DECLARATION OF ALFRED C. PFEIFFER JR.

       I, Alfred C. Pfeiffer Jr., do declare and state as follows:

       1.        I am a partner with the law firm of Latham & Watkins LLP, which has been retained

by Dairy Farmers of America, Inc. and Dairy Marketing Services, LLC (collectively “DFA”) in

connection with this Action. I submit this declaration in support of DFA’s concurrently filed Reply

in Support of Motion in Limine No. 5: To Exclude the 1977 Consent Decree, DFA’s Settlements,

and DFA’s Internal Guidelines.

       2.        Pursuant to the Court’s Orders, ECF Nos. 66, 85, the Protective Order in this case

and addendum thereto, ECF Nos. 45, 68, exhibits attached hereto are being filed under seal.

       3.        Attached as Exhibit 1 is a true and accurate copy of Plaintiffs’ Trial Exhibit 2, see

ECF No. 245 at Exhibit A (Exhibit 2 to the June 27, 2018 Deposition of Sharad Mathur), produced

in this action at Bates-stamp DFA DATA03-0880772 – DFA DATA03-0880798.

       4.        Attached as Exhibit 2 is a true and accurate excerpt of the Transcript of the June

27, 2018 Deposition of Sharad Mathur in this action.
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       I declare under penalty of perjury under the laws of the United States that the foregoing

is true and correct.



       Dated: June 23, 2020



                                                   Alfred C. Pfeiffer Jr.
                                                   of LATHAM & WATKINS LLP




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                               CERTIFICATE OF SERVICE

       I hereby certify that on June 23, 2020, I electronically filed with the Clerk of Court the
foregoing document using the CM/ECF system and served the below parties via email. The
CM/ECF system will provide service of such filing via Notice of Electronic Filing (NEF) to the
NEF parties:

       Joel G. Beckman, Esq. (jbeckman@nbparis.com)
       Gary L. Franklin, Esq. (gfranklin@primmer.com)
       William C. Nystrom, Esq. (wnystrom@nbparis.com)
       Elizabeth A. Reidy, Esq. (ereidy@nbparis.com)
       Dana A. Zakarian, Esq. (dzakarian@nbparis.com)



Dated: June 23, 2020                                /s/ Alfred C. Pfeiffer Jr.
                                                    Alfred C. Pfeiffer Jr. (admitted pro hac vice)
                                                    LATHAM & WATKINS LLP
                                                    505 Montgomery Street, Suite 2000
                                                    San Francisco, CA 94111
                                                    Telephone: 415-391-0600
                                                    Facsimile: 415-395-8095
                                                    Email: al.pfeiffer@lw.com
